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 1
                               UNITED STATES DISTRICT COURT
 2                           SOUTHERN DISTRICT OF CALIFORNIA
 3
          MS. L, et al.,                                 Case No. 18cv428 DMS MDD
 4
 5                   Petitioners-Plaintiffs,
                                                         JOINT STATUS REPORT
 6         vs.
 7
          U.S. IMMIGRATION AND
 8        CUSTOMS ENFORCEMENT, et
 9        al.,

10                   Respondents-Defendants.
11
12
          The Court ordered the parties to file a joint status report on November 8, 2018,
13
14 in anticipation of the status conference scheduled at 1:00pm PST on November 9,
15 2018. The parties submit this joint status report in accordance with the Court’s
16
   instruction.
17
18 I.     DEFENDANTS’ POSITIONS

19      A. Update on Reunifications
20
           Defendants have appropriately discharged an additional 54 children since the
21
22 October 25, 2018 Joint Status Report, for a total of 2,404 children.
23         Looking ahead, there are 25 children proceeding towards reunification or
24
     another appropriate discharge. Specifically, there are:
25
26
27
28

                                               1                             18cv428 DMS MDD
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 1       • 7 children in ORR care with a parent who is in the United States and

 2          presently in class. This total of 7 children includes 2 children who were
 3
            previously reported as having parents outside the United States, but whom
 4
 5          the ACLU identified as having parents who recently returned to the United

 6          States.1 Of the 7 children, 1 cannot be reunified at this time because their
 7
            parent is in other federal, state, or local custody (e.g., state criminal
 8
 9          detention). Defendants are working to appropriately discharge the

10          remaining 6 of 7 children, and to identify any possible barriers to their
11
            discharge, meeting and conferring with Plaintiffs where appropriate for
12
13          resolution. See Table 1: Reunification Update.

14       • 7 children in ORR care who have parents presently departed from the
15
            United States, who have cleared Processes 1 through 3 of the Court
16
17          approved reunification plan, and who are proceeding towards reunification
18          with their parents in their home country. See Table 2: Reunification of
19
            Removed Class Members.
20
21             o Of these 7 children, 1 has a voluntary departure order. The
22                government is actively arranging travel to that child’s home country.
23
                  Another 4 of the 7 children have immigration proceedings that have
24
25
26   1
     These children have concurrently been removed from reporting on children of
27 removed class members in Table 2.
28

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                     been dismissed or canceled by the government. The government is
 1
 2                   actively arranging travel to their home countries as well. See Table
 3
                     2: Reunification of Removed Class Members.
 4
 5         • 11 children in ORR care who have parents presently departed from the

 6            United States, and for whom the ACLU has not yet provided notice of
 7
              parental intent regarding reunification (or declination of reunification).
 8
 9            Defendants are supporting the efforts of the ACLU to obtain statements of

10            intent from those parents. Once Defendants receive the notices from the
11
              ACLU, Defendants will either reunify the children or move them into the
12
13            TVPRA sponsorship process, consistent with the intent of the parent. For

14            2 of the 11 children, the ACLU has been in contact with their parents for
15
              more than 28 days without providing Defendants with notice of parental
16
17            intent. See Table 2: Reunification of Removed Class Members.
18         The data in Table 1 includes the additional re-categorized children referenced
19
     in the October 25, 2018 Joint Status Report, for a total of 2,667 children.2 Table 1
20
21 also includes a new category of children with parents presently departed from the
22 United States. This new category is included at the request of the Steering
23
24   2
     Defendants determined after filing the October 25, 2018 Joint Status Report that
25 one child included in the 14 re-categorized children was already included in the
   children originally identified as possible children of potential class members.
26 Accordingly, the total number of possible children of potential class members is
27 2,667: 2,654 children originally identified plus 13 children re-categorized.
28

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     Committee, to identify 3 children whose cases the Steering Committee has advised
 1
 2 will be delayed due to unique circumstances.
 3
           The current reunification status for children ages 0 through 17 is further
 4
 5 summarized in Table 1 below. The data in Table 1 reflects approximate numbers
 6 maintained by ORR at least as of November 6, 2018. These numbers are dynamic
 7
     and continue to change as more reunifications or discharges occur.
 8
 9                            Table 1: Reunification Update

10
                         Description                         Phase 1 Phase
                                                                      (5 and
                                                                            2
                                                                                        Total
11                                                          (Under 5) above)

12    Total number of possible children of potential    103               2,564     2,667
      class members
13                                   Discharged Children
14
      Total children discharged from ORR care:              96            2,362     2,458
15
             • Children discharged by being reunified 78                  2,032     2,115
16             with separated parent
17           • Children discharged under other
18             appropriate circumstances (these
               include discharges to other sponsors       18              330       343
19             [such as situations where the child’s
20             separated parent is not eligible for
               reunification] or children that turned 18)
21                         Children in ORR Care, Parent in Class
22    Children in care where the parent is not eligible
      for reunification or is not available for discharge at 0            25        25
23    this time:
24    • Parent presently outside the U.S.                   0             18        18
25         o Steering Committee has advised that            0             3         3
              resolution will be delayed
26    • Parent presently inside the U.S.                    0             7         7
27
28

                                              4                                18cv428 DMS MDD
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 1          o Parent in other federal, state, or local 0          1                1
              custody
 2          o Parent red flag case review ongoing –    0          0                0
 3            safety and well being
                        Children in ORR Care, Parent out of Class
 4    Children in care where further review shows they
      were not separated from parents by DHS               3            35         38
 5
 6    Children in care where a final determination has     4            26         30
      been made they cannot be reunified because the
 7    parent is unfit or presents a danger to the child

 8    Children in care with parent presently departed      0            99         99
      from the United States whose intent not to reunify
 9    has been confirmed by the ACLU

10    Children in care with parent in the United States    0            17         17
      who has indicated an intent not to reunify
11
12     B. Update on Removed Class Members
13        The current reunification status of removed class members is set forth in Table
14
     2 below. The data in Table 2 includes the additional re-categorized children
15
16 referenced in the October 25, 2018 Joint Status Report. The data presented in this
17 Table 2 reflects approximate numbers maintained by ORR as of at least November
18
   6, 2018. These numbers are dynamic and continue to change as the reunification
19
20 process moves forward.
21
22
23
24
25
26
27
28

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                Table 2: Reunification of Removed Class Members
 1
 2   REUNIFICATION REPORTING METRIC                        NO.   REPORTING
     PROCESS                                                     PARTY
 3
     STARTING             Children in ORR care with
 4   POPULATION           parents presently departed       117   Def’s.
                          from the U.S.
 5
 6   PROCESS 1:
     Identify & Resolve Children with no “red flags”       117   Def’s.
 7   Safety/Parentage   for safety or parentage
     Concerns
 8
 9   PROCESS 2:           Children with parent contact     117   Def’s.
     Establish Contact    information identified
10   with Parents in      Children with no contact
     Country of Origin    issues identified by plaintiff   117   Def’s. & Pl.’s
11                        or defendant
12                        Children with parent contact
                          information provided to          117   Def’s.
13                        ACLU by Government
14
     PROCESS 3:           Children for whom ACLU
     Determine            has communicated parental        106   Pl’s.
15
     Parental Intention   intent for minor:
16   for Minor
                             • Children whose parents 99         Pl’s.
17                             waived reunification

18                           • Children whose parents
                               chose reunification in 7          Pl’s.
19                             country of origin
20                        Children for whom ACLU
                          has not yet communicated         11    Pl’s.
21                        parental intent for minor:
                             • Children with
22                              voluntary departure        0     Def’s.
                                orders awaiting
23                              execution
                             • Children with parental
24                              intent to waive
                                reunification              9     Def’s.
25                              documented by ORR
26
27
28

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                               • Children whose parents
 1                               ACLU has been in
                                 contact with for 28 or 2             Pl’s.
 2                               more days without
                                 intent determined
 3
 4    PROCESS 4:            Total children cleared
      Resolve               Processes 1-3 with confirmed     7        Pl’s.
 5    Immigration           intent for reunification in
      Status of Minors to   country of origin
 6    Allow                     • Children in ORR care
      Reunification                with orders of            1        Def’s.
 7
                                   voluntary departure
 8                              • Children in ORR care
 9                                 w/o orders of voluntary   6        Def’s.
                                   departure
10                                   o Children in ORR
11                                      care whose           4        Def’s.
                                        immigration cases
12                                      were dismissed
13
14     C. Update Regarding Government’s Implementation of Agreement
15
       • Number of orientation notices given: 70 families = 137 Ms.L/MMM
16       individual class members
17     • Number of class members who received orientation: 70 families = 137
         Ms.L/MMM individual class members
18     • Number of parents who received interviews: 62
19     • Number of CFI/RFI decisions issued by USCIS for parents: 57
       • Number of children who received CFIs: 58
20
       • Number of CF decisions issued by USCIS for children: 63
21
       D. Update Regarding Travel Arrangements
22
23        Defendants continue to coordinate with the ACLU Steering Committee
24 regarding travel information for children being reunified with their parents abroad.
25
   ICE and HHS are coordinating with DOJ to provide the Steering Committee with
26
27 the most up-to-date information available in a timely manner. Defendants will
28

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     continue to work to provide timely travel information and continue to invite
 1
 2 Plaintiffs’ counsel to confer with them about any concerns.
 3
         E. Information Sharing and Reporting on Removed Parents
 4
 5         The parties continue to work collaboratively on the sharing of data and

 6 information requested by Plaintiffs.
 7
            II.   MS. L. PLAINTIFFS’ POSITION
 8
         A. Steering Committee Progress
 9
     The Steering Committee has successfully contacted and confirmed the preferences
10
     of the vast majority of removed parents with respect to reunifications. The
11
     Government reported that, as of November 2, 145 children with removed parents
12
     remained in ORR custody. The Committee has delivered preferences for the
13
     parents of 128 3 of those children, and those children are awaiting either
14
     reunification with their parents or placement with sponsors in accordance with
15
     their parent’s submitted preferences. The status of the final 17 remaining cases are
16
     specified below, in Part I.B.
17
18
19
     3
20     As discussed at the October 25 status conference, in this Joint Status Report Plaintiffs
     are reporting a set of detailed numbers based only on the Government’s most recent list
21   of children in ORR custody with removed parents. Previously, Plaintiffs also reported a
     set of numbers based on the Government’s original lists of children in ORR custody with
22
     removed parents (originally numbering 414 children, and now 420, including those
23   children of parents recently “re-categorized” as potential class members as explained by
     the Government in the October 25 Joint Status Report). Plaintiffs continue to work to
24   confirm that the placement of the children who are no longer in ORR custody conforms
25   with the deported parents’ wishes, and reserve the right to challenge and/or to seek more
     information regarding these placements. Using this 420 number, the Steering Committee
26   has reported the preferences of a total of 298 parents who have been removed from the
     United States following separation from their children.
27
28

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 1   Removed parents identified by the Government to the Steering           145

 2   Committee by 11/3/18

 3      • Removed parents identified by the Government by 10/20/18          140

 4      • Removed parents newly identified by the Government on             5

 5         10/26/18
 6
     Steering Committee called phone number for parent (using a             145
 7
     Government-provided number or a number otherwise obtained by the
 8
     Steering Committee)
 9
        • Parents successfully reached (by phone or through NGO             141
10
           efforts)
11
        • Parents not reached (by phone or through NGO efforts)             4
12
              o Contact efforts ongoing                                     3
13
              o Cases that the Steering Committee and Government has        1
14
                 agreed should be set aside – see Section B below
15
16   Parents successfully reached (by phone or through NGO efforts)         141
17      • Parent’s final preference has been communicated to the            128
18         Government
19
20            o Parent has elected reunification in Country of Origin       8

21            o Parent has elected to waive reunification in Country of     120

22               Origin

23      • Parent’s final preference has not yet been communicated to the    9
24         Government, but the Steering Committee is actively seeking the
25         parent’s preference
26
27
28

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 1       • Cases that the Steering Committee and Government has agreed             4

 2             should be set aside – see Section B below

 3     B. The 17 Remaining Cases
 4         There are 17 parents, of the 145 parents in the Government’s November 2
 5 list of children in ORR custody with removed parents, for whom the Steering
 6 Committee has not yet submitted to the Government a final reunification
 7 preference.
 8
       • Five are parents who were only recently identified to the Steering
 9
           Committee on October 26. Efforts to obtain those parents’ preferences are
10
           underway and proceeding in the normal course. The Steering Committee
11
           has already been in touch with four of these five parents, and expects to be
12
           able to return preferences in the normal course.
13
       • Five are parents whom the Parties have agreed should be set aside because
14
           they involve complex and individualized circumstances that necessitate
15
           treatment outside of the Plan’s usual process.4
16
       • Of the remaining seven cases, this group can be broken down as follows:
17
                 o One is a parent who speaks a rare, indigenous language. After much
18
                    effort, the Steering Committee finally located a translator who speaks
19
                    this language and has obtained a preference from that parent. We are
20
                    in the process of confirming that preference with the child’s counsel,
21
                    and expect to return a preference shortly.
22
                 o One is a father who we have been unable to reach, although we have
23
                    been able to reach the child’s mother and the child’s attorney. We are
24
25
26
           4
               One of these is a parent with whom the Steering Committee has never been able
27 to speak; the other 4 are parents whom the Steering Committee has reached.
28

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 1                 currently discussing with the Government potential resolutions of this
 2                 case.
 3              o One is a parent who, after much effort, we were first able to speak
 4                 with a few days ago. He and his child are currently considering their
 5                 options, and we expect to be able to report a preference within a few
 6                 days.
 7              o Two are parents who had left their country of origin and we were
 8                 unable to locate as a result. As a result of repeated searches of
 9                 government databases by the Committee, we determined recently that
10                 both of these parents have returned to the United States and are in
11                 Government custody. We are now in contact with these parents and
12                 expect to discuss their options with them and the Government within
13                 the next week.
14              o One is a parent with whom we had an initial contact, but then were
15                 unable to reach for many months. We have recently reestablished
16                 contact through his separate counsel, and are awaiting return of that
17                 preference from that counsel.
18              o One is a parent whose case has been delayed, but for whom we have a
19                 preliminary preference that we expect to be confirmed within a few
20                 days.
21
        C. Information-Sharing
22
           2.      Coordinating Repatriations
23
           The Government has made efforts to provide more consistent advance notice
24
     to the Steering Committee regarding the timing of repatriations, and Commander
25
     White has been responsive to inquiries regarding particular cases. The Steering
26
27
28

                                               11                              18cv428 DMS MDD
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 1 Committee continues to raise concerns about timely information for repatriations
 2 as they arise with the Government’s counsel.
 3
           3.     Parents First Contacted 28 Days Or More Ago
 4
           Beginning with the September 20 status report, the Government has been
 5
     reporting the number of parents with whom the Steering Committee first made
 6
     contact 28 days or more ago, and for whom the Government has not yet received
 7
     the parent’s reunification preference. As discussed in Section B above, the
 8
     Steering Committee and the Government have agreed that certain cases should be
 9
     treated differently, and the Steering Committee and the Government have agreed
10
     that such cases will be removed from the list of parents with whom the Steering
11
     Committee first made contact 28 days ago, and for whom the Government has not
12
     yet received the parent’s reunification preference. Having set those cases aside,
13
     there are now only three parents with whom the Steering Committee first made
14
     contact 28 days ago, for whom the Government has not yet received the parent’s
15
     reunification preference, and for whom the Steering Committee anticipates
16
     delivering a final preference shortly.
17
           4.     Removals from Government Lists
18
           The Steering Committee continues to meet and confer with the Government
19
     to clarify the bases for which children and parents have been removed from the
20
     lists of class members or children in ORR custody previously produced by the
21
     Government, as reflected in each week’s Joint Status Report. The Steering
22
     Committee’s priority is to ensure that the parents’ and children’s interests are
23
     properly addressed and that no families are forgotten.
24
25
26
27
28

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                     MMM Counsel Position: Status of Settlement Implementation
 1
         A. Status of Families Detained at Dilley and Karnes
 2
             All of the Dilley class member parents who elected to invoke the settlement procedures
 3
     have received new interviews with the Asylum Office, per the settlement agreement. These
 4   interviews were complete as of October 26, 2018. At Karnes, 27 parent class members have
     completed their interviews as of this filing. 5 However, none of these class members at Karnes or
 5   Dilley have received the results of their interview. Credible fear and reasonable fear
     determinations are normally served by ICE within a few days of an interview. Moreover, the
 6   government’s last status report, filed on October 25, stated that USCIS had already “issued” 27
 7   decisions with respect to the interviews completed at Dilley. See Dkt. 291 at 8. As noted, no
     such decisions have been served. On Monday, November 5, Plaintiffs’ counsel asked counsel
 8   for the government when class members could expect to receive the interview decisions.
     Counsel for the government indicated that he would check and get back to Plaintiffs’ counsel.
 9   As of this filing, the government has not provided any additional information. Any delay in
     implementing the results of these interviews would be inconsistent with the government’s
10   commitment (and the Court’s mandate) to implement the agreement as expeditiously as possible.
11   Accordingly, Plaintiffs respectfully request that the government be required to serve all interview
     decisions that have been reached by the Asylum Office.
12
         B. Ongoing Reporting
13
            The Court previously stated that it wants the parties to provide ongoing reports with
14 respect to the implementation of the M.M.M./Dora/Ms. L settlement agreement. In the October
15 25, 2018 status report, Plaintiffs reported that “on October 23, Plaintiffs’ counsel sent the
     government a list of proposed data points to track and report with respect to the implementation
16   of the settlement agreement. The parties plan to meet and confer on this issue early next week.”
     Plaintiffs raised the reporting issue with the government during a call on November 5, 2018,
17   explaining that the parties should at least agree on what information should be tracked and
     reported to the Court. However, the government has not committed to any such reporting.
18   Accordingly, Plaintiffs request the Court’s guidance on what information the parties should
     report on an ongoing basis with respect implementation of the agreement. Plaintiffs request that,
19
     at this point, the parties report on the following: 6
20
            •   Total estimated number of parent class members
21          •   Total estimated number of children class members
22          •   Total number of executed parent election forms provided to the government
            •   Total number of executed child election forms provided to the government
23          •   Number of parent class members who have received new fear interviews
                   o Number of parents whose negative CFI/RFI determination was reconsidered
24
                   o Number of parents whose negative CFI/RFI determination was unchanged
25
            5
          At least three more are scheduled to take place this week.
26
            6
          Plaintiffs reserve the right to request additional reporting in the future as the focus of
27 implementation shifts to class members who have been released.
28

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        •   Number of child class members who have received fear interviews
 1              o Number of children who established a credible fear
 2              o Number of children determined not to have a credible fear
        •   Number of parent class members who affirmatively waived settlement procedures
 3      •   Number of child class members who affirmatively waived settlement procedures
 4      •   Number of parent and child class members who remain in detention after receiving
            interview decisions
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